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                 Exhibit A
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From:          Collins Kilgore
To:            Greer, Jocelyn E.; Lopez, Victor; Sara D. Avila
Cc:            Cheung, Tiffany; Gillian Wade; David Slade; Edwin Kilpela; Elizabeth L. Pollock; Paige Noah; Lucy Holifield; James
               Lamarca; Park, Julie Y.
Subject:       RE: Hughes v Apple | Request for Extension
Date:          Friday, June 6, 2025 6:47:28 PM



Hi Jocelyn,

To be clear, I did not say we cannot begin rolling productions for the priority Plaintiffs by
June 13. I said we cannot at this point commit to starting productions then. I promised
to get you an estimate, and we are working on that. At this stage, I expect those
productions to begin the following week (the week of June 16), but to the extent we can
start getting the docs out by June 13, we intend to do so. I will have more for you in the
way of estimates on our rolling productions next week. I expect that before we go in for a
conference with Judge Hixson, you will let us know specifically what relief it is you are
intending to request, since it’s not clear from your email what the ask will be. Please let
us know.

As to your view that Apple’s decision not to begin document productions is unripe, we
disagree. Apple has taken the definitive position that it will not begin document
productions until we reach a resolution on whether it will agree to add the two
custodians and three search terms we requested. We intend to ask the Court to order
Apple to do so, because while we work on that agreement, it is unreasonable to hold up
review and productions for the four custodians from whom Apple has already collected
using the 44 search terms Apple has already agreed to apply. If you intend to oppose on
the basis that our position unduly burdens Apple, we can tee that issue up for the judge.
But we are plainly at an impasse.

As for the additional custodians and search terms Plaintiffs have requested, we are
available to meet and confer on Monday at 11 or 12 Pacific or Tuesday at 9 or 10 Pacific.
Please let us know if one of these times works for you.

Thanks,
Collins



Collins Kilgore
WADE KILPELA SLADE, LLP
2450 Colorado Avenue
Suite 100E


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Santa Monica, CA 90404




From: Greer, Jocelyn E. <JGreer@mofo.com>
Sent: Thursday, June 5, 2025 4:57 PM
To: Collins Kilgore <ckilgore@waykayslay.com>; Lopez, Victor <VLopez@mofo.com>; Sara D. Avila
<sara@waykayslay.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension

Collins,

We can agree to accept the RFP responses for the “Priority Plaintiffs” by June 6; the production of “a
substantial set of” Plaintiffs Humphreys’, Kirkman’s, and O’Neill’s documents next week; and the
interrogatory responses of the “Priority Plaintiffs” by June 16. However, the rest of Plaintiffs’
response is unacceptable. At your insistence, we provided a discrete list of 10 Plaintiffs to prioritize
in advance of Apple’s opposition to Plaintiffs’ motion for class certification. Not only have you
refused our proposal to begin rolling productions for those 10 Plaintiffs by June 13, you have not
committed to a date by when you will begin productions for any of the Plaintiffs served with
discovery on March 28. As you noted below, we both have articulated our positions regarding
Apple’s March 28 discovery requests several times now and are at an impasse. Accordingly, we will
be emailing Judge Hixson’s clerk to schedule a telephonic conference regarding Plaintiffs’ deficient
discovery responses, and we will copy you on that email.

However, any purported issues regarding Apple’s document productions are not ripe for judicial
intervention, especially because you refused our request in our last email to meet and confer about
custodians and search terms. As we’ve explained, Apple has been proceeding diligently in
responding to Plaintiffs’ requests, but Plaintiffs’ attempt to impose undue burden and inefficiency
into the production process is unreasonable. We thus reiterate our request for a prompt meet and
confer so we can work collaboratively to finalize agreed-upon search terms.

Best,
Jocelyn


From: Collins Kilgore <ckilgore@waykayslay.com>
Sent: Wednesday, June 4, 2025 7:51 PM
To: Lopez, Victor <VLopez@mofo.com>; Greer, Jocelyn E. <JGreer@mofo.com>; Sara D. Avila
<sara@waykayslay.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade


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<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension


External Email



Victor,

We’ve each articulated our views several times on Plaintiffs’ initial responses to Apple’s
March 28 discovery requests. I believe we’ve sufficiently memorialized that we disagree
with one another, and I hope we can leave it at that for now.

We also dispute your contention that we have failed to meet the expectations we set for
Plaintiffs supplemental responses or that the responses are now “untimely.” My letter
of May 6, 2025 estimated that Plaintiffs would supplement their RFP responses within
approximately 30 days and their Rog responses within approximately 45 days and that
rolling productions would begin soon after the supplemental RFP responses are served.

Apple’s Proposal Concerning Plaintiffs’ Discovery Responses and Productions

We can agree to supplement RFP responses starting on June 6 beginning with the
“Priority Plaintiffs,” as you proposed. We cannot produce documents for Plaintiffs
Humphreys, Kirkman, and O’Neill by June 6, but I expect that we can produce a
substantial set of their documents next week.

We cannot promise to serve the supplemental Rog responses by June 13 for all of the
Priority Plaintiffs, although I do expect that we can provide all or nearly all of those by
June 16, and we will endeavor to begin serving those on June 13 to the extent it’s
reasonably possible. We also cannot commit at this stage to begin rolling productions
for the Priority Plaintiffs by June 13. I will follow up shortly with an estimate of when we
expect rolling productions can begin.

Similarly, I will have to get back to you with an estimate of when we estimate we will
begin rolling productions for the additional 28 Plaintiffs.

We cannot at this stage estimate when our document productions will be complete for
any Plaintiff. First, we need to determine the feasibility of using search terms as a QC

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method for Humphreys, Kirkman, and O’Neill before we can conclude whether search
terms will even be appropriate to locate additional documents for review and, if so, how
long we expect it will take to complete review and productions of those terms. Second,
setting aside the search terms, we continue to have outstanding disputes over the
productions of documents for Humphreys, Kirkman, and O’Neill that impact our
proposed productions for the remaining 38 Plaintiffs. Third, the 38 Plaintiffs will have
unique limitations based on their individual grounds for objecting to Apple’s requests.
We cannot complete productions as to any Plaintiff until those issues are resolved.
Therefore, in terms of estimating when productions can be completed for any individual
Plaintiff, it is too early to anticipate how each of these variables may impact production
timeline, especially since the Parties have not yet conducted a single meet and confer as
to what any one individual among the 38 Plaintiffs intends to produce. I expect we will
be able to have a more informed discussion of these issues very soon as Plaintiffs begin
providing Apple with their supplemental RFP responses.

Apple’s Document Productions

Plaintiffs have already agreed to Apple’s production from its initial custodians and
proposed search terms. We have only proposed that Apple consider adding to those
lists. It is disingenuous to characterize Plaintiffs’ request for additional custodians or
search terms as meaning we do not agree to the custodians and terms Apple initially
proposed. Apple has no justification for its refusal to begin reviewing or producing
documents while the parties dispute whether to add two more custodians and explore
adding three search terms to Apple’s list of 44 proposed terms. Given that Apple is not
proceeding with producing documents, immediate Court intervention is warranted.

As to the custodians, the Parties discussed Apple’s proposal of four initial custodians on
April 30. On May 6, Plaintiffs sent correspondence requesting that Apple add John
Bishop and Gillian Verga to its list of initial custodians. Plaintiffs also asked for
additional information (i) about whether the teams identified in Apple’s response to
Plaintiffs’ Interrogatory 1 possess responsive documents unique from the initial four
custodians Apple proposed; and (ii) to confirm that Julien Freudiger, identified in Apple’s
initial disclosures, is unlikely to have documents concerning unwanted tracking of
individuals using AirTags. It appears Apple is declining to add Plaintiffs’ two proposed
additional custodians and to provide Plaintiffs with the additional information
requested. This is no basis for Apple to decline move ahead with producing documents
for the four custodians it proposed and for whom Plaintiffs indicated their assent.

Similarly, the Parties discussed Apple’s 44 proposed search terms on May 14, during


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which discussion Plaintiffs learned that the words “Spice,” “Posh,” and “Cheesecake”
are internal codenames directly relevant to unwanted tracking. Since Apple had already
proposed searching for these terms but only with a limiter (e.g., airtag* NEAR/5 spice),
we asked on the call that Apple include these terms without limiters among the other 44
terms. You responded that you would check with the client. Again, there is no basis for
Apple to refuse to proceed with running searches, performing review, and producing
documents using the other 44 terms while you explore the feasibility of adding these
three terms.

Please confirm by COB tomorrow, June 5, 2025 whether Apple will immediately begin
producing documents from the four proposed initial custodians using the 44 terms it
proposed. If Apple does not do so, we will contact Judge Hixson’s chambers to
schedule a telephonic conference.

Thanks,
Collins



Collins Kilgore
WADE KILPELA SLADE, LLP
2450 Colorado Avenue
Suite 100E
Santa Monica, CA 90404




From: Lopez, Victor <VLopez@mofo.com>
Sent: Tuesday, June 3, 2025 12:07 PM
To: Collins Kilgore <ckilgore@waykayslay.com>; Greer, Jocelyn E. <JGreer@mofo.com>; Sara D. Avila
<sara@waykayslay.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension

Collins,

As the record reflects and as we’ve explained, Plaintiffs failed to serve proper responses to Apple’s
March 28 discovery requests within 30 days, in violation of the Federal Rules. Further, although you


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assured us that Plaintiffs would endeavor to supplement their deficient and untimely responses to
Apple’s requests for production within 30 days, they failed to meet that self-imposed deadline. And
although Plaintiffs Humphreys, Kirkman, and O’Neill have agreed that they will not use search terms
to identify the majority of the documents they have agreed to produce, Plaintiffs have yet to
produce a single document in response to RFPs that were served close to a year ago.

Notwithstanding Plaintiffs’ failure to meet the timeframe they agreed to, we’ve suggested a
compromise in an attempt to avoid burdening the Court. Thus, we are surprised and confused by
the suggestion in your email that by making this proposal, Apple is somehow obstructing Plaintiffs
from timely providing discovery responses, which is demonstrably false. If Plaintiffs are all moving
forward with complying with their obligations and are prepared to produce all promised documents
and discovery responses immediately, there is no need for any staging of their discovery responses.
 If you would prefer to phase the productions, we have made a proposal in the interests of
compromise.

For the avoidance of doubt, our proposal does not in any way mean that Apple is agreeing to
“pause” the already untimely discovery responses of any other Plaintiffs. As we noted below,
Plaintiffs should immediately begin producing documents for Plaintiffs Humphreys, Kirkman, and
O’Neill, who were served close to a year ago and have already agreed through the meet-and-confer
process to produce several categories of documents.

Accordingly, Apple proposes the below in response to Plaintiffs’ latest proposal:

         June 6: Produce documents for Plaintiffs Humphreys, Kirkman, and O’Neill; Plaintiffs will begin
         supplementing RFP responses, beginning with the 10 priority Plaintiffs (Hembd, Doe 2,
         Hussein, Luan, Maginnis, Montanaro, Rintoul, Sametz, Ben, Epps)

         June 13: For the 10 priority Plaintiffs (i) serve complete ROG responses and (ii) begin rolling
         productions

         June 20: Complete document productions for 10 priority Plaintiffs; begin rolling productions
         for remaining 28 Plaintiffs

Please let us know by Wednesday, June 4 whether Plaintiffs agree to Apple’s proposal. If you do not
agree, we understand the parties to be at an impasse.

Lastly, Apple can begin document productions once Plaintiffs agree to Apple’s proposed list of
custodians and search terms. This probably warrants another meet and confer. Please let us know
your availability for Thursday or Friday of this week, or early next week, to discuss.

Best,
Victor
From: Collins Kilgore <ckilgore@waykayslay.com>
Sent: Friday, May 30, 2025 8:05 PM
To: Greer, Jocelyn E. <JGreer@mofo.com>; Lopez, Victor <VLopez@mofo.com>; Sara D. Avila


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    Case 3:22-cv-07668-VC        Document 139-1        Filed 06/17/25     Page 8 of 35


<sara@waykayslay.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension


External Email



Jocelyn,

As early as the April 30-May 2, 2025 meet and confers, we invited Apple to identify
targets for prioritization among Plaintiffs’ supplemental responses so that we could rush
to completion the responses and documents that Apple felt it more urgently needed for
its anticipated opposition to class certification. I made a similar offer in my email of May
12, 2025, suggesting that we could accelerate responses if Apple identified those that
were a priority. Apple stated during the meet and confer, and responded on May 16,
2025, that it is “entitled to all of the information” that it requested. In that May 16,
correspondence, Apple identified only four RFPs and one rog that were of a lesser
priority, leaving us with still close to 30 requests to supplement for each Plaintiff.

Today, a month after we first invited Apple to tell us what to prioritize, you are demanding
that we provide supplemental interrogatory responses and begin producing for ten
Plaintiffs within a week and complete those productions within two weeks. At this stage,
we cannot possibly meet these demands for several reasons.

For one thing, we have been diligently working to provide supplemental responses for
the 38 Plaintiffs and have been working on collecting and processing documents for all
41 for quite some time, meaning we’ve committed resources and already built a process
to prepare supplemental responses and queue up productions for all of them. We can
of course make adjustments to that process, but we cannot now go back in time several
weeks to prioritize only 10 of these individuals in an attempt to meet the timeline Apple
is demanding.

Also, late in the day on Tuesday you sent us a 14-page letter responding in part to my
May 6, 2025 letter discussing the RFP and Rog responses for Plaintiffs Humphreys,
Kirkman, and O’Neill. We are working to digest Apple’s revised positions and will
respond as soon as possible. Your letter, however, is likely to affect our supplemental


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responses for the 38 other Plaintiffs. To remind you, we proposed, and Apple agreed,
that Plaintiffs would generally provide supplemental RFP and Rog responses for the 38
Plaintiffs based on the agreements we reached as to Humphreys, Kirkman, and O’Neill,
subject to any individual objections or issues specific to any particular other Plaintiff. I
memorialized this position in my May 6, 2025 letter and, not having received any
confirmation from Apple, followed up by email on May 12, 2025 and May 16, 2025 to
confirm that Apple agreed with Plaintiff’s proposal. Noting that Apple declined to
confirm that understanding until May 19, 2025, we have been working diligently to
supplement using the Parties’ positions on the Humphreys, Kirkman, and O’Neill
responses as a guide, including Plaintiffs’ offers on the still-disputed positions.

To that end, your May 27, 2025 letter response to our May 6, 2025 positions on the RFP
and Rog responses for Plaintiffs Humphreys, Kirkman, and O’Neill may require us to
adjust our responses for the other 38 Plaintiffs. Once we have had an opportunity to
digest the letter, we plan to incorporate any new agreements or revised positions into
our supplemental responses where reasonable and practicable. But please keep in
mind that this could require additional time, even if we stick to the 10 Plaintiffs Apple is
telling us now that it wants to prioritize.

As for your demand that we must complete productions within two weeks, I’ll remind
you that we have only discussed search terms for the initial three Plaintiffs: Humphreys,
Kirkman, and O’Neill. We still need to determine appropriate search terms for the
remaining 38 Plaintiffs, although that will be informed by what we learn from the first
three. And we are happy to start with the 10 that you’ve identified below as a priority. I
expect this will not be an issue because, as we’ve discussed, we anticipate that the
search term process is not the primary means of identifying responsive documents. But
that process is necessarily sequenced behind the application of search terms to the first
three Plaintiffs and cannot be completed within two weeks. As to the go gets for these
10 Plaintiffs, please let us know immediately if you would like us to deprioritize
productions for all of the other 31 Plaintiffs in order to rush the productions for these 10.
I cannot promise that we can turn on a dime and speed up every aspect of the review
and production process for these 10, but we can at least accelerate a significant amount
of their documents so long as we can pause the production process for the other 31
Plaintiffs.

Given all of this, we believe we can meet Apple’s demands only in part. We expect we
will begin supplementing RFP responses by next Friday, starting with the 10 Plaintiffs you
identified. We will also aim to rush the start of rolling productions for these individuals,
although these will necessarily be limited to the “go gets” we have collected for these


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Plaintiffs, and we will be waiting to hear from you on pausing the process for the other
Plaintiffs to accelerate the productions for these 10. As we’ve said for the past month
and a half, however, supplementing our rogs will take approximately another two weeks
after the supplemental RFP responses are served. We will do what we can to prioritize
the supplemental rogs for the 10 Plaintiffs, but please understand that this may affect
the timing of supplemental rogs for the remaining 28 Plaintiffs. I cannot at present give
you a firm estimate on when we expect we can begin the rolling document productions
for these 10, although I expect we can likely begin within the next two weeks.

Finally, please provide us with an update as to when Apple expects it will begin
producing documents in response to Plaintiffs’ RFPs.

Thanks,
Collins



Collins Kilgore
WADE KILPELA SLADE, LLP
2450 Colorado Avenue
Suite 100E
Santa Monica, CA 90404




From: Greer, Jocelyn E. <JGreer@mofo.com>
Sent: Friday, May 30, 2025 8:03 AM
To: Collins Kilgore <ckilgore@waykayslay.com>; Lopez, Victor <VLopez@mofo.com>; Sara D. Avila
<sara@waykayslay.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension

Collins,

Although you assured us Plaintiffs planned to supplement their deficient April 25, 2025 objections
within 30 days, Plaintiffs still have not served proper responses. Last week, you also confirmed that
Plaintiffs Humphreys, O’Neill, and Kirkman are not applying search terms to locate the vast majority
of documents responsive to Apple’s RFPs, which were served almost a year ago on June 19, 2024;


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and yet, those Plaintiffs have not produced a single document. Plaintiffs’ failure to timely produce
discovery prejudices Apple, especially in light of the July 18 deadline for Apple’s opposition to
Plaintiffs’ motion for class certification.

To avoid burdening the Court about this issue—and without in any way waiving Apple’s rights—we
again propose a compromise based on Plaintiffs’ offer to prioritize certain discovery responses.

First, we request that as soon as possible, and by no later than next Friday, June 6, Plaintiffs
Humphreys, O’Neill, and Kirkman produce their agreed-upon documents. Second, we request that
Plaintiffs prioritize the document productions and interrogatory responses of the Plaintiffs in the list
below. These Plaintiffs should, at a minimum, serve complete interrogatory responses and begin
rolling document productions by next Friday, June 6, with their productions to be completed by
Friday, June 13.

      Derick Hembd
      Jane Doe 2
      Sofia Hussein
      Pamyla Luan
      Marissa Maginnis
      Anthony Montanaro
      Clara Rintoul
      Natalia Sametz
      Cheriena Ben
      Carla Epps

Please let us know by Monday, June 2 whether Plaintiffs agree to this proposal.

Best,
Jocelyn


From: Collins Kilgore <ckilgore@waykayslay.com>
Sent: Monday, May 19, 2025 7:04 PM
To: Greer, Jocelyn E. <JGreer@mofo.com>; Lopez, Victor <VLopez@mofo.com>; Sara D. Avila
<sara@waykayslay.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension


External Email



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Hi Jocelyn,

We disagree with your interpretation of Plaintiffs’ intent. We made clear to Apple from
the beginning that we assumed the objections could be resolved, but that this would
require engaging in the meet and confer process. If Plaintiffs’ intent when serving
objections is material to your anticipated request to Judge Hixson, please let us know, as
we believe the Court would benefit from seeing the Parties’ correspondence on this
issue. I assume Apple will agree, since you also think the record speaks for itself.

I’m confused by your last sentence, which asks that we inform apple what Plaintiffs
“intend to produce” in response to the RFPs or how Plaintiffs “intend to supplement” the
interrogatory responses. Your prior email asked us to provide supplemental responses
by the end of today. But this appears to be asking for some representation about what
we will produce and how we will supplement. Can you please clarify?

Finally, we initiated the meet and confer process as to Apple’s deficient interrogatory
responses on April 2, 2025—more than six weeks ago—and Apple still has neither
supplemented nor committed to do so. We are comfortable that this issue is ripe for
Judge Hixson’s attention.

Thanks,
Collins



From: Greer, Jocelyn E. <JGreer@mofo.com>
Sent: Monday, May 19, 2025 10:58 AM
To: Collins Kilgore <ckilgore@waykayslay.com>; Lopez, Victor <VLopez@mofo.com>; Sara D. Avila
<sara@waykayslay.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension

Collins,

The record speaks for itself and demonstrates that Plaintiffs served only boilerplate objections by
the deadline set by Rules 33 and 34 with the intent of serving substantive responses weeks later,
which is plainly a violation of the Rules. Again, nothing in the Rules requires us to prioritize receiving


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certain (already untimely) responses over others. And to the extent Plaintiffs plan to take the same
general approach to their responses to the discovery requests served on March 28 that they took for
those served on Plaintiffs Humphreys, Kirkman, and O’Neill, Plaintiffs could have—and should have
—said as much in properly served responses. While the discovery requests were discrete, due to the
nature of Plaintiffs’ individualized accounts, they are different for each Plaintiff, so Apple cannot
wholesale agree to your offer to take the same approach to the requests served on Plaintiffs
Humphreys, Kirkman, and O’Neill in a vacuum. That said, if Plaintiffs can specifically identify the
requests they view as overlapping with those served on the first three Plaintiffs and identify how the
parties’ prior agreements would apply to the requests served on March 28, we can consider that
proposal to try to narrow this dispute.

We also have to correct the record below about Apple’s responses to Plaintiffs’ interrogatories.
Apple and Plaintiffs agreed to a one-month extension of the deadline for Apple to respond (and
shortly thereafter, Apple granted Plaintiffs a two-week extension to respond to the discrete set of
RFPs and interrogatories served on Plaintiffs Humphreys, Kirkman, and O’Neill). Apple did not only
serve objections, but provided multiple substantive responses. And the interrogatories to which
Apple did not provide responses were (i) irrelevant because they requested information about
unwanted tracking safety features available to Android users and there were no Android users in the
case and/or (ii) vague and ambiguous, in which case, Apple offered to meet and confer about their
meaning. In any event, Apple served those responses almost a year ago on July 1, 2024, allowing the
parties ample time to meet and confer about the appropriate scope before Plaintiffs’ deadline for
class certification. Plaintiffs only followed up to schedule a meet-and-confer nine months later, in
April 2025. At no point have Plaintiffs indicated any urgency in receiving Apple’s responses,
particularly given their nine-month delay in scheduling a meet-and-confer. In any event, during our
recent meet-and-confer, we walked through each interrogatory and discussed how, where
appropriate, Apple might be able to supplement its responses, and we intend to send you a letter
confirming those forthcoming supplementary responses in the coming days. We invited Plaintiffs to
do the same for the discovery requests served on March 28, which could have obviated the need for
court intervention, but Plaintiffs were not prepared to do so. In short, Apple’s July 1, 2024
responses to Plaintiffs’ interrogatories are not similarly situated to Plaintiffs’ recent wholesale,
boilerplate objections, and there is no dispute regarding Apple’s responses that is ripe for court
intervention.

If Plaintiffs do not inform Apple what they intend to produce in response to Apple’s RFPs or how
they intend to supplement their responses to Apple’s interrogatories by EOD today we will have no
choice but to seek a telephonic conference before Judge Hixson.

Best,
Jocelyn



From: Collins Kilgore <ckilgore@waykayslay.com>
Sent: Friday, May 16, 2025 8:23 PM
To: Greer, Jocelyn E. <JGreer@mofo.com>; Lopez, Victor <VLopez@mofo.com>; Sara D. Avila
<sara@waykayslay.com>


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Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension


External Email



Jocelyn,

It’s a mischaracterization to say that Plaintiffs are granting themselves an extension. We
timely served objections to each of Apple’s discovery requests. Because our aim is not
to obstruct discovery, we agreed to a prompt meet and confer with Apple without any
detailed deficiency letter from you. Ahead of that meet and confer we expressed that we
expected that most of our objections could be resolved in a way that would result in our
provision of substantive responses. And, during the call, we sought to cut through a
potentially lengthy meet and confer process concerning over 1000 requests by
suggesting that our general approach should be to aim to agree that the 30 Plaintiffs
could provide responses with narrowed scope along the lines of the agreements we’ve
reached for the similar requests that Apple served on Plaintiffs Humphreys, Kirkman,
and O’Neill (while reserving our right to stand on objections because of issues specific to
each Plaintiff). In my May 12 email, I repeated that this was our assumption and
understanding. You have yet to confirm that this approach is acceptable to Apple. But
you have not voiced any objection to that approach since we proposed it on May 1 and I
memorialized the approach on May 12, and we are continuing to assume that Apple is in
agreement. At this stage, it is debatable whether Apple has sufficiently met and
conferred with Plaintiffs about their objections when you will not confirm in writing that
we’ve reached agreement on this basic proposal.

In any event, as I stated before, the record here shows that Plaintiffs have been diligent
in serving timely objections, working with Apple to reach an agreement to resolve the
objections, and moving ahead to provide Apple with substantive responses and
documents. We are aiming to promptly provide Apple with the discovery it needs within
a reasonable timeframe. We see no violation of either the letter or spirit of Rules 33 or
34.

I should also point out that Plaintiffs provided Apple with an almost two-month
extension to respond to Plaintiffs’ first set of Interrogatories last year, and at the end of


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those two additional months, Apple provided only objections. Even after the Court’s
rulings on the motions to dismiss mooted many of Apple’s objections, it did not
supplement its rog responses. We met and conferred about these at the end of April,
during which time Apple told us to expect that it would indeed supplement nearly all of
its responses. You promised to tell us by a week ago, on May 9, when we could expect a
response, and we’ve still heard nothing as to when Apple will supplement a much more
discrete set of requests that Apple has had for over a year. Thus, to the extent that you
intend to convene a telephonic conference with Judge Hixson we would like to add
Apple’s deficient interrogatory responses to the agenda or, if the Court prefers, schedule
a separate call to discuss that issue.

Finally, while Apple has proposed that Plaintiffs should prioritize all but five of the
discovery requests, this hardly helps with the timeline given that Apple has served
approximately 30 requests on each of the 38 Plaintiffs. As I said, Plaintiffs are working as
diligently as possible to provide those responses and, as we originally estimated, expect
to have the RFP responses to you within a few weeks and the Rog responses shortly
after. We do not believe that Court intervention is warranted given the timeline we’ve
estimated.

Thanks,
Collins



Collins Kilgore
WADE KILPELA SLADE, LLP
2450 Colorado Avenue
Suite 100E
Santa Monica, CA 90404




From: Greer, Jocelyn E. <JGreer@mofo.com>
Sent: Friday, May 16, 2025 2:42 PM
To: Collins Kilgore <ckilgore@waykayslay.com>; Lopez, Victor <VLopez@mofo.com>; Sara D. Avila
<sara@waykayslay.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>


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Subject: RE: Hughes v Apple | Request for Extension

Hi Collins,

Our authority is FRCP 33 and 34, pursuant to which Plaintiffs had 30 days to respond to Apple’s
discovery requests. Can you please share any authority on which you’re relying for your contention
that it’s appropriate for Plaintiffs to serve boilerplate objections and unilaterally grant themselves a
30 to 45 day extension to serve supplemental, substantive responses?

We still haven’t heard from you on a firm date on when you can get us the substantive responses
that are overdue, but in any event by Monday May 19, Plaintiffs will have had three additional weeks
to prepare their responses, and we are not required to designate which requests Plaintiffs should
prioritize for serving their already untimely responses. The discovery requests were discrete and
targeted. As we explained during our last meet-and-confer, Apple is entitled to all of the information
requested in advance of its class certification opposition deadline.

That said, without waiving any rights, we are amenable to you prioritizing, for each Plaintiff, the
requests that are NOT listed below:

RFPs
   1. All DOCUMENTS identified, reviewed, or relied upon for the purpose of responding to
       Defendants’ First Set of Interrogatories to Plaintiff.
   2. All DOCUMENTS referred to, identified in, or utilized in the preparation of Plaintiffs’ Initial
       Rule 26(a)(1) Disclosure Statement.
   3. All DOCUMENTS referred to, identified in, or utilized in preparing the original complaint (ECF
       No. 1), first amended complaint (“FAC”) (ECF No. 46), second amended complaint (“SAC”)
       (ECF No. 79), and third amended complaint (“TAC”) (ECF No. 101) filed in this ACTION.
   4. All DOCUMENTS showing, reflecting, relating to, supporting, or contradicting the allegations in
       the original complaint (ECF No. 1), FAC (ECF No. 46), SAC (ECF No. 79), and/or TAC (ECF No.
       101), as applicable, in this ACTION.

Interrogatory
   1. Describe with particularity ALL facts and IDENTIFY all DOCUMENTS and other evidence that
       YOU intend to rely on to support any harm or damages that YOU allegedly suffered as a result
       of the conduct complained of in the SAC, including all facts, DOCUMENTS, and other evidence
       supporting any claim that APPLE caused such harm or damages.

For the avoidance of doubt, Plaintiffs should provide all of their discovery responses well in advance
of Apple’s July 18th deadline for its class certification opposition.

Lastly, you’re correct that if Plaintiffs do not provide supplemental, substantive responses by
Monday, May 19—which, again, is three weeks after Plaintiffs’ deadline—Apple intends to seek a


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telephonic conference before Judge Hixson without letter briefing pursuant to paragraph 1 of his
Discovery Standing Order, as the date by which Plaintiffs should serve their untimely responses is a
straightforward dispute.

Thanks,
Jocelyn


From: Collins Kilgore <ckilgore@waykayslay.com>
Sent: Thursday, May 15, 2025 6:03 PM
To: Greer, Jocelyn E. <JGreer@mofo.com>; Lopez, Victor <VLopez@mofo.com>; Sara D. Avila
<sara@waykayslay.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension


External Email



Hi Jocelyn,

Can you please share with us the authority on which you are basing your contention that
serving RFPs and Rogs on 38 individuals with only 30 days to respond is “sufficient time”
for us to prepare and serve responsive documents and interrogatory responses to over
1000 requests?

From your earlier message, it seems that Apple believes this issue is proper for a
telephonic conference. Is Apple’s position that its request to compel Plaintiffs to
provide discovery responses does not require letter briefing, either because it is a simple
dispute or for some other reason?

Finally, you continue to sidestep my request for guidance on which of the discovery
requests are a priority for Apple, to the extent we might be able to hurry those
responses. Please let us know if Apple has a position.

Thanks,
Collins




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From: Greer, Jocelyn E. <JGreer@mofo.com>
Sent: Thursday, May 15, 2025 1:30 PM
To: Collins Kilgore <ckilgore@waykayslay.com>; Lopez, Victor <VLopez@mofo.com>; Sara D. Avila
<sara@waykayslay.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension

Collins,

One minor correction below – it should have said “when the Court entered the class certification
schedule, the claims of the 38 Plaintiffs on whom Apple recently served discovery requests had just
been reinstated.” Please let us know Plaintiffs’ position.

Best,
Jocelyn


From: Greer, Jocelyn E.
Sent: Thursday, May 15, 2025 10:08 AM
To: 'Collins Kilgore' <ckilgore@waykayslay.com>; Lopez, Victor <VLopez@mofo.com>; Sara D. Avila
<sara@waykayslay.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension

Hi Collins,

As you know, when the Court entered the class certification schedule, the claims of the 38 Plaintiffs
on whom Apple recently served discovery requests had been dismissed from the case. Since they
were reinstated, Apple timely served requests with sufficient time to receive Plaintiffs’ document
productions and interrogatory responses before the July 18 deadline to oppose class certification, if
Plaintiffs had timely responded pursuant to the Federal Rules. Once Plaintiffs suggested they would
not be able to meet that deadline, Apple appropriately asked to discuss the broader case schedule
so that Apple would not be prejudiced by Plaintiffs’ requested extension by being precluded from
relying on this discovery in its opposition. But Plaintiffs’ unilateral decision to serve only objections,
with substantive responses to follow in 30 to 45 days, does exactly that.

If Plaintiffs do not serve supplemental, substantive responses by next Monday, May 19—which is

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already three weeks after Plaintiffs’ initial deadline—we will have no choice but to seek an order
from Judge Hixson compelling responses by May 23.     

We remain available to discuss.

Best,
Jocelyn


From: Collins Kilgore <ckilgore@waykayslay.com>
Sent: Monday, May 12, 2025 6:52 PM
To: Greer, Jocelyn E. <JGreer@mofo.com>; Lopez, Victor <VLopez@mofo.com>; Sara D. Avila
<sara@waykayslay.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension


External Email



Hi Jocelyn,

The record of our correspondence shows that Apple conditioned any extension of
Plaintiffs’ deadline to respond to the 38 sets of RFPs and 38 sets of interrogatories
(totaling over 1,000 requests) on Plaintiffs’ agreement to delay the case schedule. We
have been working diligently to collect documents and prepare substantive responses to
the interrogatories. But given Apple’s refusal to grant Plaintiffs’ reasonable request for
an extension, we were forced to serve objections in order to preserve them, as they will
affect the scope of the forthcoming responses we assumed we would be able to make
so long as the Parties were to come to understandings on scope similar to those we’ve
reached as to Apple’s earlier discovery requests to Plaintiffs Kirkman, Humphreys, and
O’Neill. We explained this during our April 30, May 1, and May 2 meet and confers. And
our understanding from those calls was that Apple was amenable to and indeed
expecting that the scope of Plaintiffs’ acceptable responses for the 38 Plaintiffs would
fall along similar lines as to those for the initial three. If this is incorrect, please let us
know.

In the meantime, we are continuing our diligent efforts to prepare responses and to
collect and review documents. But it is not possible for us to meet the demand you


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made on Friday that we do so within two business days. Moreover, we told you during
our meet and confer sessions on April 30, May 1, and May 2 that we expected it would
take us approximately 45 days to supplement our interrogatories and 30 days to
supplement our RFPs. It is unreasonable that Apple waited a week and then demanded
that Plaintiffs supplement within only two business days. That would be true in any
case. But especially given the large number of requests at issue, Apple should know
that Plaintiffs cannot possibly comply in that timeframe.

As we commented on April 25—which was the first time Apple took the position that
Plaintiffs’ request for an extension would “preclude Apple from using any discovery from
Plaintiffs in opposing class certification”—Apple has known the class certification
deadline since last year. To the extent Apple truly needs this discovery for class
certification, we do not understand why Apple waited to serve the requests until it had
no time to accommodate any extension. Nonetheless, we are doing our best to
promptly prepare supplemental responses.

To be clear, what exactly is the relief that you are proposing to seek from the Court as a
result of the telephonic conference? Are you seeking to compel Plaintiffs to provide
substantive responses and, if so, by what date do you intend to propose that the Court
order Plaintiffs to respond?

As I said during the April 30-May 1 meet and confer, it would be helpful if Apple identified
which discovery requests it considers essential to its class cert opposition. I recall that
at the meet and confer you told me that Apple’s urgent need extends to all of the
discovery requests. But if there are any requests that Apple wants Plaintiffs to prioritize,
we would be happy to consider whether it could be reasonable and practicable to
accelerate those.

Thanks,
Collins



From: Greer, Jocelyn E. <JGreer@mofo.com>
Sent: Friday, May 9, 2025 8:38 AM
To: Collins Kilgore <ckilgore@waykayslay.com>; Lopez, Victor <VLopez@mofo.com>; Sara D. Avila
<sara@waykayslay.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.


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<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension

Collins,

We are meeting and conferring before seeking a conference with Judge Hixson pursuant to
Paragraph 1 of Judge Hixson’s Discovery Standing Order.

As you know, on March 28, 2025, Apple served Requests for Production (RFPs) and Interrogatories
on the 38 Plaintiffs whose claims had previously been dismissed. On April 15, Plaintiffs requested a
30-day extension to respond to the RFPs and a 45-day extension to respond to the Interrogatories.
Apple responded on April 21 that it was willing to provide Plaintiffs’ requested extension and that in
light of Plaintiffs’ request, the parties should have a broader discussion about the case schedule.
Plaintiffs declined to engage in such a discussion and instead served objections only in lieu of
responses on April 25, 2025, in advance of the original deadline. However, Plaintiffs did not provide
a single substantive response to any of Apple’s discovery requests. In their responses to Apple’s
RFPs, Plaintiffs failed to state what, if any, documents Plaintiffs would produce. Plaintiffs also failed
to respond to a single interrogatory, even where asked for simple and straightforward information
they should easily have been able to provide. See, e.g., Plaintiff Brittany Alowonle’s Response to
Interrogatory No. 4 (objecting and refusing to respond to Interrogatory that stated, “IDENTIFY YOUR
full name, and all of YOUR home address(es) and email address(es), including past and present home
and email address(es) used within the last five years.”).

Apple immediately requested to meet and confer with Plaintiffs about their deficient responses the
following business day, on April 28.  In an email the following day, on April 29, Plaintiffs admitted
their “intent is certainly not to stand on all of the objections—that is, [they] expect that through the
meet-and-confer process we can reach agreements that will result in Plaintiffs providing substantive
responses to many of the RFPs and Rogs.” Plaintiffs then confirmed during a meet and confer on
May 1 and again in follow-up correspondence on May 6 that “Plaintiffs intend to supplement their
RFP responses within approximately 30 days and their Rog responses within approximately 45
days.” Put simply, Plaintiffs tacitly concede that they ignored the deadline under the Federal Rules
and unilaterally granted themselves an extension.      

Especially in light of Apple’s July 18 deadline to file its opposition to Plaintiffs’ motion for class
certification, Plaintiffs must supplement their April 25 responses to Apple’s discovery requests and
properly respond by no later than Tuesday, May 13. If they do not, Apple will have no choice but to
request a telephonic conference pursuant to Paragraph 1 of Judge Hixson’s Discovery Standing
Order.

We are available to discuss further.

Best,
Jocelyn


From: Collins Kilgore <ckilgore@waykayslay.com>


                                                   20
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Sent: Tuesday, April 29, 2025 11:08 PM
To: Lopez, Victor <VLopez@mofo.com>; Sara D. Avila <sara@waykayslay.com>; Greer, Jocelyn E.
<JGreer@mofo.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension


External Email




Understood, Victor, thanks. To answer your earlier question, our intent is certainly not to
stand on all of the objections—that is, I expect that through the meet-and-confer
process we can reach agreements that will result in Plaintiffs providing substantive
responses to many of the RFPs and Rogs and clarify the extent to which there are
requests for which we cannot.

Thanks,
Collins



From: Lopez, Victor <VLopez@mofo.com>
Sent: Tuesday, April 29, 2025 6:36 PM
To: Collins Kilgore <ckilgore@waykayslay.com>; Sara D. Avila <sara@waykayslay.com>; Greer,
Jocelyn E. <JGreer@mofo.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension

Hi Collins,

We would like to discuss both the discovery responses Plaintiffs served this past Friday and the
outstanding issues regarding Plaintiff Humphreys’, O’Neill’s, and Kirkman’s discovery responses
during our scheduled calls this week. Please see the attached for more details.

Best,
Victor
From: Collins Kilgore <ckilgore@waykayslay.com>

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Sent: Tuesday, April 29, 2025 6:11 PM
To: Lopez, Victor <VLopez@mofo.com>; Sara D. Avila <sara@waykayslay.com>; Greer, Jocelyn E.
<JGreer@mofo.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension


External Email




Hi Victor,

Just to be clear, are you referring to Plaintiffs’ objections served on Friday? I read your
email yesterday as following up on our correspondence on Friday in which you proposed
we also discuss outstanding issues with Plaintiffs’ responses to Apple’s discovery
requests, which I took to refer to Apple’s requests to Plaintiffs Humphries, Kirkman, and
O’Neill. But based on your description of the topic to be discussed, and that you were
responding to my email on Friday about the objections we were serving for the other 38
Plaintiffs, I think I was misreading your email and that this is a new meet and confer
request.

If so, is your preference to have this discussion after we tackle the remaining issues with
the requests to Humphries, Kirkman, and O’Neill, or before? And since I was confused,
I’ll clarify that my request for guidance on what issues we still need to discuss was in
reference to your request to meet and confer as to the responses of Humphries,
Kirkman, and O’Neill. Please let me know if you can give us a preview.

Thanks,
Collins



From: Lopez, Victor <VLopez@mofo.com>
Sent: Tuesday, April 29, 2025 2:07 PM
To: Collins Kilgore <ckilgore@waykayslay.com>; Sara D. Avila <sara@waykayslay.com>; Greer,
Jocelyn E. <JGreer@mofo.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield


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<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension

Hi Collins,

We’ll circulate invites for Weds-Friday. With respect to Plaintiffs’ responses to Apple’s discovery
requests, we’d like to discuss whether Plaintiffs intend to provide any substantive responses or stand
on their objections.

Thanks,
Victor


From: Collins Kilgore <ckilgore@waykayslay.com>
Sent: Monday, April 28, 2025 10:39 PM
To: Lopez, Victor <VLopez@mofo.com>; Sara D. Avila <sara@waykayslay.com>; Greer, Jocelyn E.
<JGreer@mofo.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension


External Email




Hi Victor,

I’m responding here to your email below and also your message on Friday concerning
Plaintiffs’ request to meet and confer about Apple’s discovery responses and the
custodians. We can speak during the blocks you proposed from 3-4pm Pacific on
Wednesday and from noon-1pm Pacific on Thursday (although we may have to begin a
few minutes late on Thursday because I have a previously booked meeting that ends at
around noon).

I suggest we go ahead and reserve both blocks. We would like to start with Plaintiffs’
topics. And I anticipate that the discussion of Plaintiffs’ discovery requests may take
more than an hour, so we can continue that subject if needed on Thursday when we
discuss Apple’s proposed custodians.

As to your request that we discuss the topic of Plaintiffs’ responses to Apple’s discovery


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requests, we are fine adding that on Thursday to the extent that there is time for us to get
to it, which I expect there will be. We can also book a block on Friday to make sure we
have time if needed to cover everything Apple wants to cover. I’m pretty open. It may be
productive if you give us a preview of what issues concerning Plaintiffs’ responses you
would like to discuss.

Finally, as to the search terms, we agree a separate discussion would be fruitful and are
fine with a mutual exchange by COB Wednesday or Thursday if that works for Apple.
Please let us know.

Thanks,
Collins



From: Lopez, Victor <VLopez@mofo.com>
Sent: Monday, April 28, 2025 6:02 PM
To: Collins Kilgore <ckilgore@waykayslay.com>; Sara D. Avila <sara@waykayslay.com>; Greer,
Jocelyn E. <JGreer@mofo.com>
Cc: Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade <gwade@waykayslay.com>; David Slade
<slade@waykayslay.com>; Edwin Kilpela <ek@waykayslay.com>; Elizabeth L. Pollock
<epollock@waykayslay.com>; Paige Noah <pnoah@waykayslay.com>; Lucy Holifield
<lholifield@waykayslay.com>; James Lamarca <jlamarca@waykayslay.com>; Park, Julie Y.
<JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension

Hi all,

Please let us know when you’re available to discuss Plaintiffs’ responses to Apple’s discovery
requests this Thursday, 5/1 or Friday, 5/2.

Additionally, when can we expect a revised draft of the ESI protocol for Apple’s review?

Thanks,
Victor
From: Collins Kilgore <ckilgore@waykayslay.com>
Sent: Friday, April 25, 2025 4:35 PM
To: Lopez, Victor <VLopez@mofo.com>; Sara D. Avila <sara@waykayslay.com>; Greer, Jocelyn E.
<JGreer@mofo.com>
Cc: Vetesi, Claudia M. <CVetesi@mofo.com>; Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade
<gwade@waykayslay.com>; David Slade <slade@waykayslay.com>; Edwin Kilpela
<ek@waykayslay.com>; Elizabeth L. Pollock <epollock@waykayslay.com>; Paige Noah
<pnoah@waykayslay.com>; Lucy Holifield <lholifield@waykayslay.com>; James Lamarca
<jlamarca@waykayslay.com>; Park, Julie Y. <JuliePark@mofo.com>

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Subject: RE: Hughes v Apple | Request for Extension


External Email




Victor,

We are honestly perplexed to get this message after you wrote the following to us
yesterday: “To be clear, we were not requesting an adjustment of the schedule but
thought you would need an extension of your class certification deadline to file after
serving your responses.” You wrote that in response to—and apparently to dispel—
Plaintiffs’ stated understanding that Apple was conditioning any extension of Plaintiffs’
response deadline on our agreement to delay in the class certification briefing. In any
event, since your message finally makes it clear that Apple is itself aiming to delay the
class certification hearing and the case schedule overall, and since today is the day that
Plaintiffs’ discovery responses are due, it is worth summarizing where things stand and
how we got here:

      Even though we requested the extension almost two weeks ago, this is the first
      we’re hearing that Apple believes it needs this discovery in opposing class
      certification. Apple had no justifiable reason to hide the ball on this. Yet, as
      recently as yesterday you denied that Apple wanted an extension, stating that you
      assumed it was Plaintiffs who wanted the extension. We immediately denied that.
      And yet it took you almost an entire day to get back to us, knowing that we were in
      the process of drafting and finalizing Plaintiffs’ responses in order to meet the
      deadline.

      Here, on the day these discovery responses are due, Apple still has not explained
      why it believes the requested discovery is needed for its opposition to class
      certification. We told you on Tuesday that we were open to discussing
      adjustments to the case schedule if warranted but that we did not see Plaintiffs’
      discovery responses as necessary to class certification. Not only did Apple
      provide no such justification in response, as mentioned, you denied that Apple
      was seeking any extension of the schedule.

      Apple has also not explained why Plaintiffs’ requested 30- and 45-day extensions
      would preclude Apple from using “any discovery” in its opposition to class
      certification, as both of those dates would fall well before Apple’s opposition is
      due.


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     For Apple to suddenly drop these positions on Plaintiffs on the day that our
     discovery responses are due, and nearly two weeks after we first requested the
     extension, reeks of gamesmanship. If Apple had a good-faith reason to extend the
     case schedule, we would have expected you to provide us with that as soon as
     possible after we sought the extension. Yet Apple obfuscated as to its purposes,
     including as recently as yesterday.

     Below you accuse Plaintiffs of seeking to preclude Apple from using this discovery
     in its class certification opposition. Plaintiffs’ purpose in seeking the extension is
     not to deny Apple any discovery it needs—we asked for more time to respond
     because Apple has served us with 76 separate sets of discovery comprising over
     1000 individual requests.

     Moreover, Apple has known about the class certification deadlines for four
     months. So it’s puzzling that Apple waited so long to serve these discovery
     requests if its position is that the requested information is essential to class
     certification. Indeed, it appears as though Apple is attempting to create a
     circumstance in which it can blame Plaintiffs for Apple’s own delay. To the extent
     that is your intent, we believe the Court will find Apple’s maneuver just as
     transparent as we do.

As we stated on Tuesday, Plaintiffs are of course willing to consider adjustments to the
case schedule if warranted, but Apple has yet to articulate a justifiable basis for
requesting that class certification briefing be delayed.

As it stands, Plaintiffs are disappointed that Apple has been unwilling to afford us the
courtesy of a commonplace extension of our response deadline, especially in light of the
large volume of Apple’s requests. You can expect to receive copies of our objections
shortly.

Thanks,
Collins



Collins Kilgore
WADE KILPELA SLADE, LLP
2450 Colorado Avenue
Suite 100E


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Santa Monica, CA 90404




From: Lopez, Victor <VLopez@mofo.com>
Sent: Friday, April 25, 2025 11:41 AM
To: Collins Kilgore <ckilgore@waykayslay.com>; Sara D. Avila <sara@waykayslay.com>; Greer,
Jocelyn E. <JGreer@mofo.com>
Cc: Vetesi, Claudia M. <CVetesi@mofo.com>; Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade
<gwade@waykayslay.com>; David Slade <slade@waykayslay.com>; Edwin Kilpela
<ek@waykayslay.com>; Elizabeth L. Pollock <epollock@waykayslay.com>; Paige Noah
<pnoah@waykayslay.com>; Lucy Holifield <lholifield@waykayslay.com>; James Lamarca
<jlamarca@waykayslay.com>; Park, Julie Y. <JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension

Hi Collins,

That is not Apple’s position. It is not reasonable for Plaintiffs to seek an extension that is designed to
preclude Apple from using any discovery from Plaintiffs in opposing class certification. As previously
indicated, Plaintiffs can either (a) respond by the current deadline—as indicated in your April 22
email—and keep the current case schedule, or (b) propose a shift of the case schedule to
accommodate Plaintiffs’ request for extensions to respond to Apple’s discovery requests.

Please let us know if you’d like to discuss.

Best,
Victor
From: Collins Kilgore <ckilgore@waykayslay.com>
Sent: Thursday, April 24, 2025 2:01 PM
To: Lopez, Victor <VLopez@mofo.com>; Sara D. Avila <sara@waykayslay.com>; Greer, Jocelyn E.
<JGreer@mofo.com>
Cc: Vetesi, Claudia M. <CVetesi@mofo.com>; Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade
<gwade@waykayslay.com>; David Slade <slade@waykayslay.com>; Edwin Kilpela
<ek@waykayslay.com>; Elizabeth L. Pollock <epollock@waykayslay.com>; Paige Noah
<pnoah@waykayslay.com>; Lucy Holifield <lholifield@waykayslay.com>; James Lamarca
<jlamarca@waykayslay.com>; Park, Julie Y. <JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension


External Email




Victor,




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If Apple’s position is that it is willing to grant the requested extensions without in turn
requiring an amendment to the class certification schedule, then we would like to have
the extensions (30 days for the RFPs and 45 days for the Rogs) in order to be able to
provide substantive responses. Please confirm whether this is agreeable to Apple as
soon as possible.

Thanks,
Collins



From: Lopez, Victor <VLopez@mofo.com>
Sent: Thursday, April 24, 2025 8:32 AM
To: Collins Kilgore <ckilgore@waykayslay.com>; Sara D. Avila <sara@waykayslay.com>; Greer,
Jocelyn E. <JGreer@mofo.com>
Cc: Vetesi, Claudia M. <CVetesi@mofo.com>; Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade
<gwade@waykayslay.com>; David Slade <slade@waykayslay.com>; Edwin Kilpela
<ek@waykayslay.com>; Elizabeth L. Pollock <epollock@waykayslay.com>; Paige Noah
<pnoah@waykayslay.com>; Lucy Holifield <lholifield@waykayslay.com>; James Lamarca
<jlamarca@waykayslay.com>; Park, Julie Y. <JuliePark@mofo.com>
Subject: RE: Hughes v Apple | Request for Extension

Hi Collins,

To be clear, we were not requesting an adjustment of the schedule but thought you would need an
extension of your class certification deadline to file after serving your responses. But since Plaintiffs
intend to serve their RFP and interrogatory responses by the original deadline, it appears we’re on
the same page, and this issue is moot.

We are working on converting the PDFs we served to Word documents and should be able to send
them to you by COB today.

Best,
Victor
From: Collins Kilgore <ckilgore@waykayslay.com>
Sent: Tuesday, April 22, 2025 6:04 PM
To: Lopez, Victor <VLopez@mofo.com>; Sara D. Avila <sara@waykayslay.com>; Greer, Jocelyn E.
<JGreer@mofo.com>
Cc: Vetesi, Claudia M. <CVetesi@mofo.com>; Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade
<gwade@waykayslay.com>; David Slade <slade@waykayslay.com>; Edwin Kilpela
<ek@waykayslay.com>; Elizabeth L. Pollock <epollock@waykayslay.com>; Paige Noah
<pnoah@waykayslay.com>; Lucy Holifield <lholifield@waykayslay.com>; James Lamarca
<jlamarca@waykayslay.com>
Subject: RE: Hughes v Apple | Request for Extension


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External Email




Victor,

We are always willing to consider adjustments to the case schedule if warranted. But we
do not agree that our reasonable request for a modest extension of Plaintiffs’ deadline to
respond to Apple’s latest 76 sets of discovery requests (38 individual sets of RFPs and 38
individual sets of rogs)—which you served only 10 weeks before Plaintiffs’ class
certification deadline—should delay class certification briefing and the case schedule
overall. We believe the subject matter of these requests to be unnecessary to the class
certification motion. To the extent Apple contends the requests are in fact essential to
the Court’s decision on class certification, Apple has not explained this to Plaintiffs
since we made our request for an extension on April 15. In any event, given the overall
volume of the requests, and the recency with which Apple served them, Apple’s demand
that a modest extension of Plaintiffs’ response deadline be tethered to a delay in the
case schedule is unreasonable.

I also must point out that we have now twice asked Apple to provide Word versions of its
discovery requests, first on April 9 and then again on April 15. As you know, providing
Word versions of discovery requests is a courtesy that parties commonly afford one
another in discovery to ease the burden of preparing written responses (indeed it is
required in some jurisdictions). Apple is apparently refusing to extend us this courtesy
as well, which I can only assume is a deliberate choice to complicate Plaintiffs’ effort in
preparing its discovery responses.

Given where things stand, Plaintiffs will plan to respond by the original deadline.

Thanks,
Collins




From: Lopez, Victor <VLopez@mofo.com>
Sent: Monday, April 21, 2025 4:04 PM
To: Sara D. Avila <sara@waykayslay.com>; Greer, Jocelyn E. <JGreer@mofo.com>
Cc: Vetesi, Claudia M. <CVetesi@mofo.com>; Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade
<gwade@waykayslay.com>; David Slade <slade@waykayslay.com>; Collins Kilgore
<ckilgore@waykayslay.com>; Elizabeth L. Pollock <epollock@waykayslay.com>


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Subject: RE: Hughes v Apple | Request for Extension

Hi Sara,

We are happy to consider your request, but as discussed last week, we think your request warrants a
broader conversation regarding the case schedule, as your proposed deadline to respond to our
ROGs would be after Plaintiffs’ current deadline to file class cert. Accordingly, we ask that you
please circulate a revised proposed case schedule for Apple’s review and consideration. Once you
circulate your proposal, we can be available to meet and confer.

Best,
Victor
From: Sara D. Avila <sara@waykayslay.com>
Sent: Monday, April 21, 2025 4:17 PM
To: Greer, Jocelyn E. <JGreer@mofo.com>; Lopez, Victor <VLopez@mofo.com>
Cc: Vetesi, Claudia M. <CVetesi@mofo.com>; Cheung, Tiffany <TCheung@mofo.com>; Gillian Wade
<gwade@waykayslay.com>; David Slade <slade@waykayslay.com>; Collins Kilgore
<ckilgore@waykayslay.com>; Elizabeth L. Pollock <epollock@waykayslay.com>
Subject: Re: Hughes v Apple | Request for Extension


External Email




Hi Jocelyn, Victor-
I’m writing to follow up on our email below. We touched on it briefly during our call at the
end of last week, but given our deadline is Friday I wanted to circle back. Please let me
know if you’d like to discuss. Thank you.


From: Sara D. Avila <sara@waykayslay.com>
Date: Tuesday, April 15, 2025 at 2:21 PM
To: JGreer@mofo.com <JGreer@mofo.com>
Cc: Lopez, Victor <VLopez@mofo.com>, cvetesi@mofo.com <CVetesi@mofo.com>,
tcheung@mofo.com <TCheung@mofo.com>, Gillian Wade <gwade@waykayslay.com>,
David Slade <slade@waykayslay.com>, Collins Kilgore <ckilgore@waykayslay.com>,
Elizabeth L. Pollock <epollock@waykayslay.com>
Subject: Hughes v Apple | Request for Extension

Hi Jocelyn,
I’m writing to see whether Apple would be amenable to giving Plaintiffs short extensions
of time to respond to the discovery you propounded on March 28, 2025. Given the
breadth and number of requests, we would like an additional ~30 days (to Tuesday, May
27, 2025) to respond to the Requests for Production and an additional 45 days (to

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Monday, June 9, 2025) to respond to the Interrogatories. To be sure, if we can ultimately
provide them earlier than the proposed new deadlines, we’ll certainly do so.

Relatedly, while I’m reaching out, have you had an opportunity to look into our request
for Word versions of Apple’s discovery requests?

Happy to discuss any of the above, if you like. Thank you.

Best,
Sara




Sara D. Avila
WADE KILPELA SLADE, LLP
2450 Colorado Avenue
Suite 100E
Santa Monica, California 90404
Direct:     (310)697-5807
Website: waykayslay.com




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